
PER CURIAM.
Petitioner’s original direct appeal from a judgment and sentence imposed upon conviction of breaking and entering a dwelling *125house with intent to commit a felony, to-wit, grand larceny, and grand larceny was frustrated by an untimely filed notice of appeal by court appointed counsel.
We grant petitioner a belated review of the judgment and sentence equivalent to a direct appeal by means of this habeas corpus proceeding. Henninger v. State, 230 So.2d 149 (Fla.1970).
We dispense with oral argument pursuant to F.A.R. 3.10(e), 32 F.S.A. We have examined the briefs and record, and conclude that petitioner has failed to demonstrate reversible error. Accordingly, the judgment and sentence is affirmed and ha-beas corpus denied.
Habeas corpus denied.
WALDEN, CROSS -and DOWNEY, JJ., concur.
